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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 JEREMY HUFFMAN, SR.,

                       Plaintiff,

                       v.                            CAUSE NO.: 3:19-CV-169-JD-MGG

 ST. JOSEPH COUNTY JAIL, et al.,

                      Defendants.

                                            ORDER

       Jeremy Huffman, Sr., proceeding without the benefit of counsel, filed a motion

(ECF 3) seeking appointment of counsel. “There is no right to court-appointed counsel

in federal civil litigation.” Olson v. Morgan, 750 F.3d 708, 711 (7th Cir. 2014) (citing Pruitt

v. Mote, 503 F.3d 647, 649 (7th Cir. 2007)). However, in some circumstances, the court

may ask counsel to volunteer to represent indigent parties.

       When confronted with a request under § 1915(e)(1) for pro bono counsel,
       the district court is to make the following inquiries: (1) has the indigent
       plaintiff made a reasonable attempt to obtain counsel or been effectively
       precluded from doing so; and if so, (2) given the difficulty of the case,
       does the plaintiff appear competent to litigate it himself?

Pruitt v. Mote, 503 F.3d at 654. Since the court has not yet screened the amended

complaint (ECF 6), as required by 28 U.S.C. § 1915A, “the case [is] still in its infancy,

thereby making it impossible at [this] juncture to make any accurate determination

regarding [the plaintiff’s] abilities or the difficulty of the case.” Romanelli v. Suliene, 615

F.3d 847, 852 (7th Cir. 2010).

       For these reasons, the motion (ECF 3) is DENIED.
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    SO ORDERED this April 10, 2019.


                                             s/Michael G. Gotsch, Sr.
                                             Michael G. Gotsch, Sr.
                                             United States Magistrate Judge




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